Case 1:19-cv-00958-TWP-DLP Document 79-1 Filed 08/27/19 Page 1 of 8 PagelD #: 793

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ATTORNEY FOR APPELLANT: ATTORNEYS FOR APPELLEE:
JACK QUIRK PAMELA CARTER
Attorney at Law Attorney General of Indiana

Muncie, IN 47305
LIGA M. PAUNICKA
Deputy Attorney General

Office of Attorney General
Indianapolis, IN 46204-2794

 

IN THE
COURT OF APPEALS OF INDIANA
FIFTH DISTRICT ae

 

WILLIAM BARNHOUSE,

 

Appellant-Defendant,
va. No. 18A05-9304-CR-137

STATE OF INDIANA,

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Appellee-Plaintiff.

 

APPEAL FROM THE DELAWARE SUPERIOR COURT
The Honorable Richard A. Dailey, Judge
Cause No. 18D02-9204-cPr-46

 

RUCKER, J.

MEMORANDUM DECISION

 
Case 1:19-cv-00958-TWP-DLP ' Document 79-1 Filed 08/27/19 Page 2 of 8 PagelD #: 794

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Defendant-Appellant William Barnhouse was convicted of Rape,
as a Class A felony* and Criminal Deviate Conduct, as a Class A
felony.7 He raises two issues for our review which we
consolidate and rephrase as: whether the trial court erred in
denying Barnhouse's motion to Suppress identification evidence.

We affirm.

In the early morning hours of April 21, 1993, P.L. left her
apartment and walked toward a convenience store located
approximately one block away. As she walked through an alley
leading to the store, she was approached by Barnhouse. While
riding his bicycle alongside P.L., Barnhouse asked her whether
she wanted to "go party." Record at 379A. P.L. declined,
whereupon Barnhouse produced a knife, placed it against P.L.'s
side and threatened to kill her. Barnhouse forced P.L. to walk
with him to an area behind a nearby vacant building. Once there,
Barnhouse ordered P.L. to remove her slacks and lie on the
ground. When P.L. refused, Barnhouse moved the knife toward
P.L.'s face and said he would kill her unless she complied.
Succumbing to Barnhouse's threats, P.L. removed her Clothing and
lay down. Barnhouse then raped P.L. and forced her to perform
fellatio. After the assault, P.L. quickly dressed and began
walking away from the scene. As she left, Barnhouse walked
beside her warning that if she reported the rape he would kill

her. Barnhouse then mounted his bicycle, circled around P.L.

 

*Ind. Code § 35-42-4-1,

7Ind. Code § 35-42-4-2.
Case 1:19-cv-00958-TWP-DLP Document 79-1 Filed 08/27/19 Page 3 of 8 PagelD #: 795

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several times as she walked, then rode away. As soon as
Barnhouse was out of sight, P.L. ran to a nearby convenience
store and reported the incident to a store employee.

Police were summoned, and Shortly thereafter Officer Fonda
King arrived on the scene. P.L. told Officer King that she had
been raped and provided a description of her attacker. Officer
King placed a "Be On the Lookout" bulletin over police radio with
the assailant's description.

Approximately one hour later, a police officer responding to
the bulletin observed Barnhouse riding his bicycle a short
distance away from where the Yape occurred. The officer detained
Barnhouse and contacted Officer King. When Officer King learned
Barnhouse had been apprehended, she informed P.L. police had
detained a "possible suspect" who "fit the description" of her
assailant. Record at 425. Officer King then transported P.L. to
Barnhouse's location. When P.L. arrived, she saw Barnhouse
standing next to three police officers and their squad cars.
P-L. immediately recognized Barnhouse and identified him as the
man who assaulted her. P.L. also recognized Barnhouse's bicycle
and the knife he was carrying as those used in the attack.

Barnhouse was arrested and charged with Rape and Criminal
Deviate Conduct. Prior to trial, Barnhouse moved to suppress
evidence of P.L.'s pre-trial identification and any in-court
identification by P.L. The trial court denied the motion, and
evidence of the prior identification as well as P.L.'s in-court

identification of Barnhouse was introduced at trial without
Case 1:19-cv-00958-TWP-DLP Document 79-1 Filed 08/27/19 Page 4 of 8 PagelD #: 796

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objection. A jury convicted Barnhouse as charged. This appeal
ensued.

Barnhouse contends the trial court erred in denying his
motion to suppress and allowing the identification evidence.
According to Barnhouse, the pre-trial identification procedure
was unduly suggestive, tainting any subsequent §  in-court
identification. Specifically, Barnhouse claims that informing
P.L. that Barnhouse was a “possible suspect" and allowing her to
view him as he was surrounded only by uniformed police officers
unnecessarily marked him as "the" Suspect. Brief of Appellant at
ll. Also, Barnhouse argues P.L.'s description of her attacker
was inconsistent with his appearance at the time he was
apprehended, thus demonstrating the likelihood of
misidentification resulting from the procedure.

We first note that Barnhouse's failure to object to
admission of the identification evidence at trial results in
waiver of the issue. See Simpson v. State (1987), Ind., 506
N.E.2d 473. Waiver notwithstanding, we address the merits of
Barnhouse's claim.

Where a trial court has admitted evidence of both a
pre~trial and an in-court identification of the accused by the
same witness, we must determine whether, under the totality of
the circumstances, the pre-trial confrontation was 80
unnecessarily suggestive and conducive to irreparable mistaken
identification that the accused was denied due process of law.
Brooks v. State (1990), Ind., 560 N.E.2d 49, reh'g denied. If,

under the totality of the circumstances, we find the out-of-court
Case 1:19-cv-00958-TWP-DLP Document 79-1 Filed 08/27/19 Page 5 of 8 PagelD #: 797

Procedure was not impermissibly and unnecessarily suggestive,
evidence of both the pre-trial identification and the in-court
identification is Properly admissible. id. at 55.

Our supreme court recently approved an identification
procedure similar to the one at issue here. In Letica v. State
(2991), Ind., 569 N.E.2d 952, two victims were told, prior to
identifying the defendant, they would be viewing a “suspect who
possibly matched the description" of their assailant. id. at
954. The victims were allowed to identify the defendant as he
stood next to a number of police officers. id. at 956. The
court held the procedure was not impermissibly suggestive, noting
the well-established rule that one-on-one confrontations, even
though suggestive, are proper in circumstances where they occur
immediately after the crime is committed. Id. at 956, Such
confrontations are allowed "because of the value of permitting a
witness to view a suspect while the image of the perpetrator is
fresh in the witness's mind." Head v. State (1982), Ind., 443
N.E.2da 44, 55.

Here, as in Letica, the identification occurred shortly
after commission of the crime and under circumstances in which
the victim had ample opportunity to view her attacker. The
record reveals P.L. observed Barnhouse as he approached her on
his bicycle, viewed him at close range during the attack and
observed him after the attack in an area iiluminated by street
lamps. P.L. identified Barnhouse less than two hours after the
assault and, at the time of the identification, indicated she was

"sure" Barnhouse was her attacker.
Case 1:49-cv-00958-TWP-DLP Document 79-1 Filed 08/27/19 Page 6 of 8 PagelD #: 798

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In addition, contrary to Barnhouse's Claim, P.L.'s
description of her assailant was largely consistent with
Barnhouse's appearance at the time of his apprehension. P.L.
described her attacker as a white male, 5'9" to 5'10" in height,
of slim build, with dark brown shoulder-length hair, a mustache,
a bad complexion, an unpleasant body odor and an underbite which
caused his chin to protrude beyond his upper lip. He wore a gray
sweatshirt and light blue jeans and was riding a black bicycle
with curved handlebars and a chain underneath the seat.

Barnhouse is 6'1" tall and, at the time he was apprehended,
his hair was the length and color described by P.L. Also, he had
several days growth of facial hair, and his face and body odor
otherwise matched the description given by P.L. He wore a black
tee~shirt, blue jacket and blue jeans, and rode a blue bicycle
with curved handlebars and a chain as P.L. described. Officer
King testified that at the time of his arrest, Barnhouse appeared
to be of "medium to thin" build. Record at 436. Also, Barnhouse
Carried a knife which P.L. recognized as the weapon used in the
attack. The identification procedure was not unduly suggestive
and the trial court properly admitted evidence of both the
pre-trial and in-court identifications by P.L.

Judgment affirmed.

J, BARTEAU and J. STATON, CONCUR.
Case 1:19-cv-00958-TWP-DLP Document 79-1 Filed 08/27/19 Page 7 of 8 PagelD #: 799

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Clerk Court of Appeain

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IN THE COURT OF APPEALS
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Case 1:19-cv-00958-TWP-DLP Document 79-1 Filed 08/27/19 Page 8 of 8 PagelD #: 800

“CERTIFICATION “

 

 

 

 

 

 

 

STATE OF INDIANA
SS:
+» COURT OF APPEALS

1, Owayne Brown, Cierk of the Court of Appeals of the State of indiana, certify the above and foregoing to be a irue and completa

copy of the of UAlon __ of said Court in the above entitled cause.

IN WITNESS WHEREOF, | hereto set my hand and affix the seat of

7 said Court, at the Cily of Indianapolis, this

h/ day of You 2 GS

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